Case 1:25-cv-00766-JEB   Document 108-1   Filed 05/01/25   Page 1 of 3




                          Exhibit A
      Case 1:25-cv-00766-JEB           Document 108-1          Filed 05/01/25      Page 2 of 3




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




LIYANARA SANCHEZ, as next friend
on behalf of FRENGEL REYES MOTA,
et al.,


                                                        Civil Action No. 1:25-cv-00766-JEB
Petitioner,
v.                                                      Declaration Of Christopher Landau
DONALD J. TRUMP, in his official
capacity as President of the United States,
et al.,




Respondents.


                       DECLARATION OF CHRISTOPHER LANDAU


I, Christopher Landau, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as

follows:

        1.      I am the Deputy Secretary of State of the United States. As Deputy Secretary, I

serve as the principal deputy, adviser, and alter ego to the Secretary of State and assist the Secretary

in the formulation and conduct of U.S. foreign policy and in giving general supervision and

direction to all elements of the Department of State. I previously served as the U.S. Ambassador

to Mexico, among other positions.

        2.      I am aware that this lawsuit has been filed on behalf of the named plaintiffs and two

subclasses, including aliens detained at the Terrorism Confinement Center (CECOT) and criminal
      Case 1:25-cv-00766-JEB          Document 108-1         Filed 05/01/25      Page 3 of 3




detainees in the United States, seeking an order requiring the government to facilitate the return of

the CECOT subclass members to the United States from El Salvador and an order enjoining Alien

Enemies Act removals of members of the criminal detainee subclass. I provide this declaration

based on my personal knowledge and experience, reasonable inquiry, and information obtained

from other State Department employees.

       3.      El Salvador is a sovereign, independent nation, with its own domestic law and

international obligations governing the detention of individuals. El Salvador makes its own

sovereign decisions, including with respect to detention.



I declare under penalty of perjury that the foregoing is true and correct.



Executed this 1st day of May 2025.




                                              ________________________

                                              Christopher Landau
                                              Deputy Secretary of State
